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                                       UNITED STATES BANKRUPTCY COURT
                                         SOUTHERN DISTRICT OF TEXAS
                                              HOUSTON DIVISION

In re:                                                              §
                                                                    §
HOU-TEX BUILDERS, LLC, et al., 1                                    §            Case No. 18-34658
                                                                    §            Chapter 11
                        DEBTORS.                                    §
                                                                    §

     NOTICE OF FINAL ORDER AUTHORIZING DEBTORS TO OBTAIN CREDIT
                           [Related to ECF No. 36]

            PLEASE TAKE NOTICE that on September 7, 2018, the Bankruptcy Court entered the

Interim Order Authorizing Debtors to Obtain Credit [ECF 36] (the “Interim Order”). The Interim Order

provides in relevant part: “The Debtors shall file on the docket in the above-referenced jointly

administered bankruptcy cases a proposed Final Order Authorizing Debtors to Obtain Credit and

Use Proceeds by September 20, 2018.”

            PLEASE TAKE FURTHER NOTICE THAT the proposed Final Order Authorizing

Debtors to Obtain Credit and Use Proceeds is attached hereto as Exhibit A. A redline reflecting the

changes made to the proposed order is attached hereto as Exhibit B.


                                               [Remainder of Page Left Intentionally Blank]




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1          The names of the debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
           identification number, are: Houtex Builders, LLC (2111), 2203 Looscan, LLC (1418) and 415 Shadywood, LLC
           (7627).

                                                                    
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Dated: September 20, 2018                  Respectfully submitted,

                                           DIAMOND McCARTHY LLP

                                           /s/ Charles M. Rubio
                                           Charles M. Rubio
                                           TBA No. 24083768
                                           crubio@diamondmccarthy.com
                                           J. Maxwell Beatty
                                           TBA No. 24051740
                                           Two Houston Center
                                           909 Fannin, 37th Floor
                                           Houston, TX 77010
                                           Telephone: (713) 333-5100
                                           Facsimile: (713) 333-5199

                                           Proposed Counsel to Debtors
                                           and Debtors-In-Possession




                                      
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                              EXHIBIT A

                          Proposed Final Order




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                              UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

In re:                                                     i
HOU-TEX BUILDERS, LLC, e t al. , 1                         i             Case No. 18-34658
                                                                         Chapter 11
                                                           i
                  DEBTORS.
                                                           i
                                                           i
                                                           i

              FINAL ORDER AUTHORIZING DEBTORS TO OBTAIN CREDIT

         The Court, having considered the Motion for Authority To Obtain Credit [Dkt. No. 5] (the

“Motion”) filed by Houtex Builders, LLC; 415 Shadywood, LLC and 2203 Looscan Lane, LLC

(collectively, the “Debtors”), 2 any responses to the Motion, the statements of counsel, and the

record in this case, and having held a hearing on the Motion, finds that: (a) it has jurisdiction over

this matter pursuant to 28 U.S.C. § 1334; (b) this is a core proceeding pursuant to 28 U.S.C.

§ 157(b)(2); (c) the relief requested in the Motion is in the best interests of the Debtors’ estates,

their creditors, and other parties-in-interest; (d) proper and adequate notice of the Motion and

hearing thereon has been given and no other or further notice is necessary; and (e) good and

sufficient cause exists for the granting of the relief requested. Therefore, it is ORDERED that:

         1.       The Debtors are authorized to borrow funds from Charles C. Foster (the “Lender”)

pursuant to the terms of the commitment letter attached hereto as Exhibit A (the “Commitment

Letter”) as follows:

                  A.    The Debtor Houtex Builders, LLC (“Houtex”) is authorized to incur debt in the

         principal sum not to exceed $60,000.00 (the actual amount borrowed together with interest,

1        The names of the debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
         identification number, are: Houtex Builders, LLC (2111), 2203 Looscan, LLC (1418) and 415 Shadywood, LLC
         (7627).
2        Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.


ORDER AUTHORIZING DEBTOR TO OBTAIN CREDIT                                                                              1
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      the “Houtex Loan”) and shall be entitled to use the proceeds to pay all ordinary and

      necessary expenses in the ordinary course of its business for the purposes contained in the

      budget (the “Base Houtex Budget”) attached as Exhibit B-1; provided that for the period

      following the conclusion of the Base HouTex Budget, Houtex is authorized to borrow such

      additional amounts from the Lender in the amounts, for the periods and for the purposes set

      forth in Exhibit B-2 (the “Supplemental Houtex Budget, and together with the Base Houtex

      Budget, the “Houtex Budget”).

             B. The Debtor 215 Shadywood, LLC (“Shadywood”) is authorized to incur debt in

      the principal sum not to exceed $65,000.00 (the actual amount borrowed together with

      interest, the “Shadywood Loan”) and shall be entitled to use the proceeds to pay all ordinary

      and necessary expenses in the ordinary course of its business for the purposes contained in

      the budget (the “Base Shadywood Budget”) attached as Exhibit C-1; provided that for the

      period following the conclusion of the Base Shadywood Budget, Shadywood is authorized to

      borrow such additional amounts from the Lender in the amounts, for the periods and for

      the purposes set forth in Exhibit C-2 (the “Supplemental Shadywood Budget, and together

      with the Base Shadywood Budget, the “Shadywood Budget”).

             C. The Debtor 2203 Looscan, LLC (“Looscan”) is authorized to incur debt in the

      principal sum not to exceed $61,000.00 (the actual amount borrowed together with interest,

      the “Looscan Loan”) and shall be entitled to use the proceeds to pay all ordinary and

      necessary expenses in the ordinary course of its business for the purposes contained in the

      budget (the “Base Looscan Budget”) attached as Exhibit D-1; provided that for the period

      following the conclusion of the Base Looscan Budget, Looscan is authorized to borrow such

      additional amounts from the Lender in the amounts, for the periods and for the purposes set

      forth in Exhibit D-2 (the “Supplemental Looscan Budget, and together with the Base



ORDER AUTHORIZING DEBTOR TO OBTAIN CREDIT                                                        2
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        Looscan Budget, the “Looscan Budget” and together with the Houtex Budget and

        Shadywood Budget, the “Budgets”).

        2.      Unused amounts under the Budgets roll forward and are available to the Debtors for

future periods under the Budgets.

        3.      The Lender is hereby granted administrative expense claims pursuant to § 503(b) and

507(b) of the Bankruptcy Code as follows:

                A. With respect amounts owed to the Lender under the Houtex Loan, the Lender

        will receive an administrative expense claims against Debtor Houtex Builders, LLC.

                B. With respect to amounts owed to the Lender under the Shadywood Loan, the

        Lender will receive an administrative expense claim against Debtor 215 Shadywood, LLC.

                C. With respect to amounts owed to the Lender under the Looscan Loan, the

        Lender will receive an administrative expense claim against Debtor 2203 Looscan, LLC.

provided that, the administrative expense claim will be subject to and subordinate to the

administrative expense claims for the items incurred and paid for pursuant to the Budgets.

        4.      The Lender is hereby granted a lien on property of the Debtors’ estates that is not

otherwise subject to a lien.

        5.      The Lender is granted a junior lien on property of the estate that is subject to a lien;

provided that the Debtors reserve their rights to challenge the validity of any pre-petition liens and

associated claims and/or avoid the liens by an avoidance action.

        6.      For paragraphs 4 and 5, the liens for the Houtex Loan are on the property of

Houtex, the liens for the Shadywood Loan are on the property of Shadywood, and the liens for the

Looscan Loan are on the property of Looscan; the liens are not cross-collateralized between the

Debtors.




ORDER AUTHORIZING DEBTOR TO OBTAIN CREDIT                                                             3
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       7.      The Debtors are authorized to take all actions necessary to effectuate the relief

granted by this order.

       8.      This Court shall retain jurisdiction with respect to all matters arising from or related

to the implementation of this order.



SIGNED this              day of         , 2018.
                                                  UNITED STATES BANKRUPTCY JUDGE




ORDER AUTHORIZING DEBTOR TO OBTAIN CREDIT                                                            4
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                           Exhibit A

                       Commitment Letter

                            [INSERT]
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Case 18-34658 Document 51 Filed in TXSB on 09/20/18 Page 10 of 42
Case 18-34658 Document 51 Filed in TXSB on 09/20/18 Page 11 of 42
Case 18-34658 Document 51 Filed in TXSB on 09/20/18 Page 12 of 42
HoutexȱBuildersȱLLC
WeeklyȱCashȱForecast
                                    8/19/2018                                           12                  12                   12                   12                     1                      1                    1                   1                    1                    2                     2                      2                   2
                                                                   Weekȱ#    0          1                    2                    3                   4                      5                      6                    7                   8                    9                   10                    11                     12                   13              #ȱofȱDays
                                                                WeekȱStart         8/20/2018           8/25/2018             9/1/2018             9/8/2018             9/15/2018              9/22/2018            9/29/2018            10/6/2018          10/13/2018           10/20/2018             10/27/2018             11/3/2018           11/10/2018                 89
                                                               WeekȱEnded          8/25/2018            9/1/2018             9/8/2018            9/15/2018             9/22/2018              9/29/2018            10/6/2018           10/13/2018          10/20/2018           10/27/2018             11/3/2018             11/10/2018           11/17/2018             Total
CASHȱRECEIPTS
 SalesȱProceeds,ȱnetȱofȱclosingȱcosts                                        $                                                                                                                                                                                                                                                                                              –
                                                                             $                                                                                                                                                                                                                                                                                              –

 DIPȱCASHȱRECEIPTS
TotalȱDIPȱAvailability                                                       $        60,000               57,727               55,777               42,732                  40,667               39,394               36,794               23,749              21,684               20,411                  19,176               16,901                1,938


   DIPȱBalance                                                               $               –               1,273                2,273               4,223                  17,268               19,333               20,606               23,206              36,251               38,316                  39,589               40,824               43,099            43,099
   Draw/(Repayment)ȱofȱDIP                                                   $          1,273                1,000                1,950              13,045                   2,065                 1,273                2,600              13,045                2,065                1,273                  1,235                 2,275              14,963            58,062


EndingȱDIPȱBalance                                                           $          1,273                2,273                4,223              17,268                  19,333               20,606               23,206               36,251              38,316               39,589                  40,824               43,099               58,062


                                                   TOTALȱSOURCESȱOFȱCASH     $   $ȱȱȱȱȱȱȱȱȱȱȱ1,273   $ȱȱȱȱȱȱȱȱȱȱȱȱ1,000   $ȱȱȱȱȱȱȱȱȱȱȱȱ1,950   $ȱȱȱȱȱȱȱȱȱȱ13,045   $ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ2,065   $ȱȱȱȱȱȱȱȱȱȱȱȱ1,273   $ȱȱȱȱȱȱȱȱȱȱȱȱ2,600   $ȱȱȱȱȱȱȱȱȱȱ13,045   $ȱȱȱȱȱȱȱȱȱȱȱȱ2,065   $ȱȱȱȱȱȱȱȱȱȱȱȱ1,273   $ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ1,235   $ȱȱȱȱȱȱȱȱȱȱȱȱ2,275   $ȱȱȱȱȱȱȱȱȱȱ14,963   $ȱȱȱȱȱȱȱȱȱȱȱȱȱ58,062


CASHȱDISBURSEMENTS
 G&AȱExpenses                                                                $          1,000                1,000                1,000               2,275                   1,000                 1,000                1,000               2,275                1,000                1,000                  1,000                 2,275               1,000            16,825
 Constructionȱvendor/supplierȱpayments                                       $                                                                                                                                                                                                                                                                                              –
 Utilitesȱandȱinsurance                                                      $              273                                       950                                     1,065                     273                  950                                  1,065                    273                   235                                        500           5,584

                                                TOTALȱOPERATINGȱEXPENSES     $          1,273                1,000                1,950               2,275                   2,065                 1,273                1,950               2,275                2,065                1,273                  1,235                 2,275               1,500            22,409


CHAPTERȱ11ȱRELATEDȱEXPENSES
 U.S.ȱTrustee                                                                $               –                    –                     –                    –                      –                     –                  650                   –                    –                    –                      –                     –                    –            650
 DebtorȱLegalȱFees                                                           $               –                    –                     –            10,770                         –                     –                    –            10,770                      –                    –                      –                     –            13,463             35,003
 FirstȱLienȱLenderȱInterestȱExpenseȱandȱLenderȱFees                          $               –                    –                     –                    –                      –                     –                    –                   –                    –                    –                      –                     –                    –             –
                                TOTALȱCHAPTERȱ11ȱRELATEDȱEXPENSES            $               –                    –                    –             10,770                         –                    –                   650            10,770                     –                    –                       –                    –             13,463            35,653


                                                      TOTALȱUSESȱOFȱCASH     $          1,273                1,000                1,950              13,045                   2,065                 1,273                2,600              13,045                2,065                1,273                  1,235                 2,275              14,963




                                                         BEGINNINGȱCASH      $               –                    –                    –                   ($0)                  ($0)                   ($0)                 ($0)                ($0)                 ($0)                 ($0)                  ($0)                   ($0)                 ($0)


                                                            ENDINGȱCASH      $               –                    –                    (0)                  (0)                    (0)                   (0)                  (0)                 (0)                  (0)                  (0)                    (0)                   (0)                  0
                                                                                                                                                                                                                                                                                                                                                                                            Case 18-34658 Document 51 Filed in TXSB on 09/20/18 Page 13 of 42




                                                                                                                                                                   )PVUFY-PBO#VEHFU
415ȱShadywoodȱLLC
WeeklyȱCashȱForecast
                                    8/19/2018                                           12                  12                   12                   12                     1                      1                    1                   1                    1                    2                     2                      2                   2
                                                                   Weekȱ#    0          1                    2                    3                   4                      5                      6                    7                   8                    9                   10                    11                     12                   13              #ȱofȱDays
                                                                WeekȱStart         8/20/2018           8/25/2018             9/1/2018             9/8/2018             9/15/2018              9/22/2018            9/29/2018            10/6/2018          10/13/2018           10/20/2018             10/27/2018             11/3/2018           11/10/2018                 89
                                                               WeekȱEnded          8/25/2018            9/1/2018             9/8/2018            9/15/2018             9/22/2018              9/29/2018            10/6/2018           10/13/2018          10/20/2018           10/27/2018             11/3/2018             11/10/2018           11/17/2018             Total
CASHȱRECEIPTS
 SalesȱProceeds,ȱnetȱofȱclosingȱcosts                                        $                                                                                                                                                                                                                                                                                              –
                                                                             $                                                                                                                                                                                                                                                                                              –

 DIPȱCASHȱRECEIPTS
TotalȱDIPȱAvailability                                                       $        65,000               61,434               60,031               45,546                  44,143               42,740               40,077               23,543              22,096               20,693                  18,680               15,009                     99


   DIPȱBalance                                                               $               –               1,553                3,566               4,969                  19,454               20,857               22,260               24,923              41,457               42,904                  44,307               46,320               49,991            49,991
   Draw/(Repayment)ȱofȱDIP                                                   $          1,553                2,013                1,403              14,485                   1,403                 1,403                2,663              16,534                1,447                1,403                  2,013                 3,671              14,910            64,901


EndingȱDIPȱBalance                                                           $          1,553                3,566                4,969              19,454                  20,857               22,260               24,923               41,457              42,904               44,307                  46,320               49,991               64,901


                                                   TOTALȱSOURCESȱOFȱCASH     $   $ȱȱȱȱȱȱȱȱȱȱȱ1,553   $ȱȱȱȱȱȱȱȱȱȱȱȱ2,013   $ȱȱȱȱȱȱȱȱȱȱȱȱ1,403   $ȱȱȱȱȱȱȱȱȱȱ14,485   $ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ1,403   $ȱȱȱȱȱȱȱȱȱȱȱȱ1,403   $ȱȱȱȱȱȱȱȱȱȱȱȱ2,663   $ȱȱȱȱȱȱȱȱȱȱ16,534   $ȱȱȱȱȱȱȱȱȱȱȱȱ1,447   $ȱȱȱȱȱȱȱȱȱȱȱȱ1,403   $ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ2,013   $ȱȱȱȱȱȱȱȱȱȱȱȱ3,671   $ȱȱȱȱȱȱȱȱȱȱ14,910   $ȱȱȱȱȱȱȱȱȱȱȱȱȱ64,901


CASHȱDISBURSEMENTS
 G&AȱExpenses                                                                $          1,000                1,000                1,000               2,275                   1,000                 1,000                1,000               2,275                1,000                1,000                  1,000                 2,275               1,000            16,825
 Constructionȱvendor/supplierȱpayments                                       $              553                  403                  403             1,396                      403                    403                  403             1,396                    403                  403                   403                1,396                   403           8,368
 Utilitesȱandȱinsurance                                                      $                                   610                                       44                                                                610             2,093                    44                                         610                                         44           4,055

                                                TOTALȱOPERATINGȱEXPENSES     $          1,553                2,013                1,403               3,715                   1,403                 1,403                2,013               5,764                1,447                1,403                  2,013                 3,671               1,447            29,248


CHAPTERȱ11ȱRELATEDȱEXPENSES
 U.S.ȱTrustee                                                                $               –                    –                    –                    –                       –                     –                  650                   –                    –                    –                      –                     –                    –            650
 DebtorȱLegalȱFees                                                           $               –                    –                    –             10,770                         –                     –                    –            10,770                      –                    –                      –                     –            13,463             35,003
 FirstȱLienȱLenderȱInterestȱExpenseȱandȱLenderȱFees                          $               –                    –                    –                    –                       –                     –                    –                   –                    –                    –                      –                     –                    –             –
                                TOTALȱCHAPTERȱ11ȱRELATEDȱEXPENSES            $               –                    –                    –             10,770                         –                    –                   650            10,770                     –                    –                       –                    –             13,463            35,653


                                                      TOTALȱUSESȱOFȱCASH     $          1,553                2,013                1,403              14,485                   1,403                 1,403                2,663              16,534                1,447                1,403                  2,013                 3,671              14,910




                                                         BEGINNINGȱCASH      $               –                    –                    –                   –                     ($0)                   ($0)                 ($0)                ($0)                 ($0)                 ($0)                  ($0)                   ($0)                 ($0)


                                                            ENDINGȱCASH      $               –                    –                    –                   (0)                     (0)                   (0)                  (0)                 (0)                  (0)                  (0)                    (0)                   (0)                  (0)
                                                                                                                                                                                                                                                                                                                                                                                            Case 18-34658 Document 51 Filed in TXSB on 09/20/18 Page 14 of 42




                                                                                                                                                           6KDG\ZRRG/RDQ%XGJHW
2203ȱLooscanȱLLC
WeeklyȱCashȱForecast
                                    8/19/2018                                           12                  12                   12                   12                     1                      1                    1                   1                    1                    2                     2                      2                   2
                                                                   Weekȱ#    0          1                    2                    3                   4                      5                      6                    7                   8                    9                   10                    11                     12                   13              #ȱofȱDays
                                                                WeekȱStart         8/20/2018           8/25/2018             9/1/2018             9/8/2018             9/15/2018              9/22/2018            9/29/2018            10/6/2018          10/13/2018           10/20/2018             10/27/2018             11/3/2018           11/10/2018                 89
                                                               WeekȱEnded          8/25/2018            9/1/2018             9/8/2018            9/15/2018             9/22/2018              9/29/2018            10/6/2018           10/13/2018          10/20/2018           10/27/2018             11/3/2018             11/10/2018           11/17/2018             Total
CASHȱRECEIPTS
 SalesȱProceeds,ȱnetȱofȱclosingȱcosts                                        $                                                                                                                                                                                                                                                                                              –
                                                                             $                                                                                                                                                                                                                                                                                              –

 DIPȱCASHȱRECEIPTS
TotalȱDIPȱAvailability                                                       $        61,000               58,026               56,629               42,194                  40,767               39,370               37,323               22,888              21,461               20,064                  18,667               15,002                    142


   DIPȱBalance                                                               $               –               1,577                2,974               4,371                  18,806               20,233               21,630               23,677              38,112               39,539                  40,936               42,333               45,998            45,998
   Draw/(Repayment)ȱofȱDIP                                                   $          1,577                1,397                1,397              14,435                   1,427                 1,397                2,047              14,435                1,427                1,397                  1,397                 3,665              14,860            60,858


EndingȱDIPȱBalance                                                           $          1,577                2,974                4,371              18,806                  20,233               21,630               23,677               38,112              39,539               40,936                  42,333               45,998               60,858


                                                   TOTALȱSOURCESȱOFȱCASH     $   $ȱȱȱȱȱȱȱȱȱȱȱ1,577   $ȱȱȱȱȱȱȱȱȱȱȱȱ1,397   $ȱȱȱȱȱȱȱȱȱȱȱȱ1,397   $ȱȱȱȱȱȱȱȱȱȱ14,435   $ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ1,427   $ȱȱȱȱȱȱȱȱȱȱȱȱ1,397   $ȱȱȱȱȱȱȱȱȱȱȱȱ2,047   $ȱȱȱȱȱȱȱȱȱȱ14,435   $ȱȱȱȱȱȱȱȱȱȱȱȱ1,427   $ȱȱȱȱȱȱȱȱȱȱȱȱ1,397   $ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ1,397   $ȱȱȱȱȱȱȱȱȱȱȱȱ3,665   $ȱȱȱȱȱȱȱȱȱȱ14,860   $ȱȱȱȱȱȱȱȱȱȱȱȱȱ60,858


CASHȱDISBURSEMENTS
 G&AȱExpenses                                                                $          1,000                1,000                1,000               2,275                   1,000                 1,000                1,000               2,275                1,000                1,000                  1,000                 2,275               1,000            16,825
 Constructionȱvendor/supplierȱpayments                                       $              547                  397                  397             1,390                      397                    397                  397             1,390                    397                  397                   397                1,390                   397           8,290
 Utilitesȱandȱinsurance                                                      $               30                                                                                   30                                                                                   30                                                                                      –            90

                                                TOTALȱOPERATINGȱEXPENSES     $          1,577                1,397                1,397               3,665                   1,427                 1,397                1,397               3,665                1,427                1,397                  1,397                 3,665               1,397            25,205


CHAPTERȱ11ȱRELATEDȱEXPENSES
 U.S.ȱTrustee                                                                $               –                    –                    –                    –                       –                     –                  650                   –                    –                    –                      –                     –                    –            650
 DebtorȱLegalȱFees                                                           $               –                    –                    –             10,770                         –                     –                    –            10,770                      –                    –                      –                     –            13,463             35,003
 FirstȱLienȱLenderȱInterestȱExpenseȱandȱLenderȱFees                          $               –                    –                    –                    –                       –                     –                    –                   –                    –                    –                      –                     –                    –             –
                                TOTALȱCHAPTERȱ11ȱRELATEDȱEXPENSES            $               –                    –                    –             10,770                         –                    –                   650            10,770                     –                    –                       –                    –             13,463            35,653


                                                      TOTALȱUSESȱOFȱCASH     $          1,577                1,397                1,397              14,435                   1,427                 1,397                2,047              14,435                1,427                1,397                  1,397                 3,665              14,860




                                                         BEGINNINGȱCASH      $               –                    –                    –                   –                     ($0)                   ($0)                 ($0)                ($0)                 ($0)                 ($0)                  ($0)                   ($0)                 ($0)


                                                            ENDINGȱCASH      $               –                    –                    –                   (0)                     (0)                   (0)                  (0)                 (0)                  (0)                  (0)                    (0)                   (0)                  (0)
                                                                                                                                                                                                                                                                                                                                                                                            Case 18-34658 Document 51 Filed in TXSB on 09/20/18 Page 15 of 42




                                                                                                                                                           /RRVFDQ/RDQ%XGJHW
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                            Exhibit B

                          Houtex Budget

                            [INSERT]
HoutexȱBuildersȱLLC
WeeklyȱCashȱForecast
                                    8/19/2018                                           12                  12                   12                   12                     1                      1                    1                   1                    1                    2                     2                      2                   2
                                                                   Weekȱ#    0          1                    2                    3                   4                      5                      6                    7                   8                    9                   10                    11                     12                   13              #ȱofȱDays
                                                                WeekȱStart         8/20/2018           8/25/2018             9/1/2018             9/8/2018             9/15/2018              9/22/2018            9/29/2018            10/6/2018          10/13/2018           10/20/2018             10/27/2018             11/3/2018           11/10/2018                 89
                                                               WeekȱEnded          8/25/2018            9/1/2018             9/8/2018            9/15/2018             9/22/2018              9/29/2018            10/6/2018           10/13/2018          10/20/2018           10/27/2018             11/3/2018             11/10/2018           11/17/2018             Total
CASHȱRECEIPTS
 SalesȱProceeds,ȱnetȱofȱclosingȱcosts                                        $                                                                                                                                                                                                                                                                                              –
                                                                             $                                                                                                                                                                                                                                                                                              –

 DIPȱCASHȱRECEIPTS
TotalȱDIPȱAvailability                                                       $        60,000               57,727               55,777               42,732                  40,667               39,394               36,794               23,749              21,684               20,411                  19,176               16,901                1,938


   DIPȱBalance                                                               $               –               1,273                2,273               4,223                  17,268               19,333               20,606               23,206              36,251               38,316                  39,589               40,824               43,099            43,099
   Draw/(Repayment)ȱofȱDIP                                                   $          1,273                1,000                1,950              13,045                   2,065                 1,273                2,600              13,045                2,065                1,273                  1,235                 2,275              14,963            58,062


EndingȱDIPȱBalance                                                           $          1,273                2,273                4,223              17,268                  19,333               20,606               23,206               36,251              38,316               39,589                  40,824               43,099               58,062


                                                   TOTALȱSOURCESȱOFȱCASH     $   $ȱȱȱȱȱȱȱȱȱȱȱ1,273   $ȱȱȱȱȱȱȱȱȱȱȱȱ1,000   $ȱȱȱȱȱȱȱȱȱȱȱȱ1,950   $ȱȱȱȱȱȱȱȱȱȱ13,045   $ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ2,065   $ȱȱȱȱȱȱȱȱȱȱȱȱ1,273   $ȱȱȱȱȱȱȱȱȱȱȱȱ2,600   $ȱȱȱȱȱȱȱȱȱȱ13,045   $ȱȱȱȱȱȱȱȱȱȱȱȱ2,065   $ȱȱȱȱȱȱȱȱȱȱȱȱ1,273   $ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ1,235   $ȱȱȱȱȱȱȱȱȱȱȱȱ2,275   $ȱȱȱȱȱȱȱȱȱȱ14,963   $ȱȱȱȱȱȱȱȱȱȱȱȱȱ58,062


CASHȱDISBURSEMENTS
 G&AȱExpenses                                                                $          1,000                1,000                1,000               2,275                   1,000                 1,000                1,000               2,275                1,000                1,000                  1,000                 2,275               1,000            16,825
 Constructionȱvendor/supplierȱpayments                                       $                                                                                                                                                                                                                                                                                              –
 Utilitesȱandȱinsurance                                                      $              273                                       950                                     1,065                     273                  950                                  1,065                    273                   235                                        500           5,584

                                                TOTALȱOPERATINGȱEXPENSES     $          1,273                1,000                1,950               2,275                   2,065                 1,273                1,950               2,275                2,065                1,273                  1,235                 2,275               1,500            22,409


CHAPTERȱ11ȱRELATEDȱEXPENSES
 U.S.ȱTrustee                                                                $               –                    –                     –                    –                      –                     –                  650                   –                    –                    –                      –                     –                    –            650
 DebtorȱLegalȱFees                                                           $               –                    –                     –            10,770                         –                     –                    –            10,770                      –                    –                      –                     –            13,463             35,003
 FirstȱLienȱLenderȱInterestȱExpenseȱandȱLenderȱFees                          $               –                    –                     –                    –                      –                     –                    –                   –                    –                    –                      –                     –                    –             –
                                TOTALȱCHAPTERȱ11ȱRELATEDȱEXPENSES            $               –                    –                    –             10,770                         –                    –                   650            10,770                     –                    –                       –                    –             13,463            35,653


                                                      TOTALȱUSESȱOFȱCASH     $          1,273                1,000                1,950              13,045                   2,065                 1,273                2,600              13,045                2,065                1,273                  1,235                 2,275              14,963




                                                         BEGINNINGȱCASH      $               –                    –                    –                   ($0)                  ($0)                   ($0)                 ($0)                ($0)                 ($0)                 ($0)                  ($0)                   ($0)                 ($0)


                                                            ENDINGȱCASH      $               –                    –                    (0)                  (0)                    (0)                   (0)                  (0)                 (0)                  (0)                  (0)                    (0)                   (0)                  0
                                                                                                                                                                                                                                                                                                                                                                                            Case 18-34658 Document 51 Filed in TXSB on 09/20/18 Page 17 of 42




                                                                                                                                            &YIJCJU#)PVUFY-PBO#VEHFU
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                                          Exhibit B-2

                                Supplemental Houtex Budget

On a weekly basis:

G&A Expenses: $1,300
Construction vendor/supplier payments: $0
Utilites and insurance: $430

On a monthly basis:

Debtor Legal Fees: $10,700

On a quarterly basis:

U.S. Trustee Fees: Amount required under 28 U.S.C. § 1930(a)(6)
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                            Exhibit C

                        Shadywood Budget

                            [INSERT]
415ȱShadywoodȱLLC
WeeklyȱCashȱForecast
                                    8/19/2018                                           12                  12                   12                   12                     1                      1                    1                   1                    1                    2                     2                      2                   2
                                                                   Weekȱ#    0          1                    2                    3                   4                      5                      6                    7                   8                    9                   10                    11                     12                   13              #ȱofȱDays
                                                                WeekȱStart         8/20/2018           8/25/2018             9/1/2018             9/8/2018             9/15/2018              9/22/2018            9/29/2018            10/6/2018          10/13/2018           10/20/2018             10/27/2018             11/3/2018           11/10/2018                 89
                                                               WeekȱEnded          8/25/2018            9/1/2018             9/8/2018            9/15/2018             9/22/2018              9/29/2018            10/6/2018           10/13/2018          10/20/2018           10/27/2018             11/3/2018             11/10/2018           11/17/2018             Total
CASHȱRECEIPTS
 SalesȱProceeds,ȱnetȱofȱclosingȱcosts                                        $                                                                                                                                                                                                                                                                                              –
                                                                             $                                                                                                                                                                                                                                                                                              –

 DIPȱCASHȱRECEIPTS
TotalȱDIPȱAvailability                                                       $        65,000               61,434               60,031               45,546                  44,143               42,740               40,077               23,543              22,096               20,693                  18,680               15,009                     99


   DIPȱBalance                                                               $               –               1,553                3,566               4,969                  19,454               20,857               22,260               24,923              41,457               42,904                  44,307               46,320               49,991            49,991
   Draw/(Repayment)ȱofȱDIP                                                   $          1,553                2,013                1,403              14,485                   1,403                 1,403                2,663              16,534                1,447                1,403                  2,013                 3,671              14,910            64,901


EndingȱDIPȱBalance                                                           $          1,553                3,566                4,969              19,454                  20,857               22,260               24,923               41,457              42,904               44,307                  46,320               49,991               64,901


                                                   TOTALȱSOURCESȱOFȱCASH     $   $ȱȱȱȱȱȱȱȱȱȱȱ1,553   $ȱȱȱȱȱȱȱȱȱȱȱȱ2,013   $ȱȱȱȱȱȱȱȱȱȱȱȱ1,403   $ȱȱȱȱȱȱȱȱȱȱ14,485   $ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ1,403   $ȱȱȱȱȱȱȱȱȱȱȱȱ1,403   $ȱȱȱȱȱȱȱȱȱȱȱȱ2,663   $ȱȱȱȱȱȱȱȱȱȱ16,534   $ȱȱȱȱȱȱȱȱȱȱȱȱ1,447   $ȱȱȱȱȱȱȱȱȱȱȱȱ1,403   $ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ2,013   $ȱȱȱȱȱȱȱȱȱȱȱȱ3,671   $ȱȱȱȱȱȱȱȱȱȱ14,910   $ȱȱȱȱȱȱȱȱȱȱȱȱȱ64,901


CASHȱDISBURSEMENTS
 G&AȱExpenses                                                                $          1,000                1,000                1,000               2,275                   1,000                 1,000                1,000               2,275                1,000                1,000                  1,000                 2,275               1,000            16,825
 Constructionȱvendor/supplierȱpayments                                       $              553                  403                  403             1,396                      403                    403                  403             1,396                    403                  403                   403                1,396                   403           8,368
 Utilitesȱandȱinsurance                                                      $                                   610                                       44                                                                610             2,093                    44                                         610                                         44           4,055

                                                TOTALȱOPERATINGȱEXPENSES     $          1,553                2,013                1,403               3,715                   1,403                 1,403                2,013               5,764                1,447                1,403                  2,013                 3,671               1,447            29,248


CHAPTERȱ11ȱRELATEDȱEXPENSES
 U.S.ȱTrustee                                                                $               –                    –                    –                    –                       –                     –                  650                   –                    –                    –                      –                     –                    –            650
 DebtorȱLegalȱFees                                                           $               –                    –                    –             10,770                         –                     –                    –            10,770                      –                    –                      –                     –            13,463             35,003
 FirstȱLienȱLenderȱInterestȱExpenseȱandȱLenderȱFees                          $               –                    –                    –                    –                       –                     –                    –                   –                    –                    –                      –                     –                    –             –
                                TOTALȱCHAPTERȱ11ȱRELATEDȱEXPENSES            $               –                    –                    –             10,770                         –                    –                   650            10,770                     –                    –                       –                    –             13,463            35,653


                                                      TOTALȱUSESȱOFȱCASH     $          1,553                2,013                1,403              14,485                   1,403                 1,403                2,663              16,534                1,447                1,403                  2,013                 3,671              14,910




                                                         BEGINNINGȱCASH      $               –                    –                    –                   –                     ($0)                   ($0)                 ($0)                ($0)                 ($0)                 ($0)                  ($0)                   ($0)                 ($0)


                                                            ENDINGȱCASH      $               –                    –                    –                   (0)                     (0)                   (0)                  (0)                 (0)                  (0)                  (0)                    (0)                   (0)                  (0)
                                                                                                                                                                                                                                                                                                                                                                                            Case 18-34658 Document 51 Filed in TXSB on 09/20/18 Page 20 of 42




                                                                                                                            &YIJCJU$4IBEZXPPE#VEHFU
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                                          Exhibit C-2

                              Supplemental Shadywood Budget

On a weekly basis:

G&A Expenses: $1,300
Construction vendor/supplier payments: $650
Utilites and insurance: $320

On a monthly basis:

Debtor Legal Fees: $10,700

On a quarterly basis:

U.S. Trustee Fees: Amount required under 28 U.S.C. § 1930(a)(6)
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                            Exhibit D

                         Looscan Budget

                            [INSERT]
2203ȱLooscanȱLLC
WeeklyȱCashȱForecast
                                    8/19/2018                                           12                  12                   12                   12                     1                      1                    1                   1                    1                    2                     2                      2                   2
                                                                   Weekȱ#    0          1                    2                    3                   4                      5                      6                    7                   8                    9                   10                    11                     12                   13              #ȱofȱDays
                                                                WeekȱStart         8/20/2018           8/25/2018             9/1/2018             9/8/2018             9/15/2018              9/22/2018            9/29/2018            10/6/2018          10/13/2018           10/20/2018             10/27/2018             11/3/2018           11/10/2018                 89
                                                               WeekȱEnded          8/25/2018            9/1/2018             9/8/2018            9/15/2018             9/22/2018              9/29/2018            10/6/2018           10/13/2018          10/20/2018           10/27/2018             11/3/2018             11/10/2018           11/17/2018             Total
CASHȱRECEIPTS
 SalesȱProceeds,ȱnetȱofȱclosingȱcosts                                        $                                                                                                                                                                                                                                                                                              –
                                                                             $                                                                                                                                                                                                                                                                                              –

 DIPȱCASHȱRECEIPTS
TotalȱDIPȱAvailability                                                       $        61,000               58,026               56,629               42,194                  40,767               39,370               37,323               22,888              21,461               20,064                  18,667               15,002                    142


   DIPȱBalance                                                               $               –               1,577                2,974               4,371                  18,806               20,233               21,630               23,677              38,112               39,539                  40,936               42,333               45,998            45,998
   Draw/(Repayment)ȱofȱDIP                                                   $          1,577                1,397                1,397              14,435                   1,427                 1,397                2,047              14,435                1,427                1,397                  1,397                 3,665              14,860            60,858


EndingȱDIPȱBalance                                                           $          1,577                2,974                4,371              18,806                  20,233               21,630               23,677               38,112              39,539               40,936                  42,333               45,998               60,858


                                                   TOTALȱSOURCESȱOFȱCASH     $   $ȱȱȱȱȱȱȱȱȱȱȱ1,577   $ȱȱȱȱȱȱȱȱȱȱȱȱ1,397   $ȱȱȱȱȱȱȱȱȱȱȱȱ1,397   $ȱȱȱȱȱȱȱȱȱȱ14,435   $ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ1,427   $ȱȱȱȱȱȱȱȱȱȱȱȱ1,397   $ȱȱȱȱȱȱȱȱȱȱȱȱ2,047   $ȱȱȱȱȱȱȱȱȱȱ14,435   $ȱȱȱȱȱȱȱȱȱȱȱȱ1,427   $ȱȱȱȱȱȱȱȱȱȱȱȱ1,397   $ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ1,397   $ȱȱȱȱȱȱȱȱȱȱȱȱ3,665   $ȱȱȱȱȱȱȱȱȱȱ14,860   $ȱȱȱȱȱȱȱȱȱȱȱȱȱ60,858


CASHȱDISBURSEMENTS
 G&AȱExpenses                                                                $          1,000                1,000                1,000               2,275                   1,000                 1,000                1,000               2,275                1,000                1,000                  1,000                 2,275               1,000            16,825
 Constructionȱvendor/supplierȱpayments                                       $              547                  397                  397             1,390                      397                    397                  397             1,390                    397                  397                   397                1,390                   397           8,290
 Utilitesȱandȱinsurance                                                      $               30                                                                                   30                                                                                   30                                                                                      –            90

                                                TOTALȱOPERATINGȱEXPENSES     $          1,577                1,397                1,397               3,665                   1,427                 1,397                1,397               3,665                1,427                1,397                  1,397                 3,665               1,397            25,205


CHAPTERȱ11ȱRELATEDȱEXPENSES
 U.S.ȱTrustee                                                                $               –                    –                    –                    –                       –                     –                  650                   –                    –                    –                      –                     –                    –            650
 DebtorȱLegalȱFees                                                           $               –                    –                    –             10,770                         –                     –                    –            10,770                      –                    –                      –                     –            13,463             35,003
 FirstȱLienȱLenderȱInterestȱExpenseȱandȱLenderȱFees                          $               –                    –                    –                    –                       –                     –                    –                   –                    –                    –                      –                     –                    –             –
                                TOTALȱCHAPTERȱ11ȱRELATEDȱEXPENSES            $               –                    –                    –             10,770                         –                    –                   650            10,770                     –                    –                       –                    –             13,463            35,653


                                                      TOTALȱUSESȱOFȱCASH     $          1,577                1,397                1,397              14,435                   1,427                 1,397                2,047              14,435                1,427                1,397                  1,397                 3,665              14,860




                                                         BEGINNINGȱCASH      $               –                    –                    –                   –                     ($0)                   ($0)                 ($0)                ($0)                 ($0)                 ($0)                  ($0)                   ($0)                 ($0)


                                                            ENDINGȱCASH      $               –                    –                    –                   (0)                     (0)                   (0)                  (0)                 (0)                  (0)                  (0)                    (0)                   (0)                  (0)
                                                                                                                                                                                                                                                                                                                                                                                            Case 18-34658 Document 51 Filed in TXSB on 09/20/18 Page 23 of 42




                                                                                                                          ([KLELW'/RRVFDQ%XGJHW
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                                          Exhibit D-2

                                Supplemental Looscan Budget

On a weekly basis:

G&A Expenses: $1,300
Construction vendor/supplier payments: $650
Utilites and insurance: $10

On a monthly basis:

Debtor Legal Fees: $10,700

On a quarterly basis:

U.S. Trustee Fees: Amount required under 28 U.S.C. § 1930(a)(6)
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                                                                       

                               EXHIBIT B

                                 Redline




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                               UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

,QUH                                                     i
                                                           i
HOU-TEX BUILDERS, LLC, et al.,                                        &DVH1R1834658
                                                           i
                                                                        &KDSWHU
                    '(%7256                               i
                                                           i
                                                           i

        INTERIMFINAL ORDER AUTHORIZING DEBTORS TO OBTAIN CREDIT

           The Court, having considered the Motion for Authority To Obtain Credit [Dkt. No. 5] (the

“Motion”) filed by Houtex Builders, LLC; 415 Shadywood, LLC and 2203 Looscan Lane, LLC

(collectively, the “Debtors”),2 any responses to the Motion, the statements of counsel, and the

record in this case, and having held a hearing on the Motion, finds that: (a) it has jurisdiction over

this matter pursuant to 28 U.S.C. § 1334; (b) this is a core proceeding pursuant to 28 U.S.C. §

157(b)(2); (c) the relief requested in the Motion is in the best interests of the Debtors’ estates, their

creditors, and other parties-in-interest; (d) proper and adequate notice of the Motion and hearing

thereon has been given and no other or further notice is necessary; and (e) good and sufficient cause

exists for the granting of the relief requested. Therefore, it is ORDERED that:

           1.       For the period of time from the Petition Date to the date of the hearing to consider

the relief requested in the Motion on a final basis, theThe Debtors are authorized to borrow funds

from Charles C. Foster (the “Lender”) pursuant to the terms of the commitment letter attached

hereto as Exhibit A (the “Commitment Letter”) as follows:



     The names of the debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
    identification number, are: Houtex Builders, LLC (2111), 2203 Looscan, LLC (1418) and 415 Shadywood, LLC (7627).
2
      Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.


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             A.   The Debtor Houtex Builders, LLC (“Houtex”) is authorized to incur debt in the

      principal sum not to exceed $60,000.00 (the actual amount borrowed together with interest,

      the “Houtex Loan”) and shall be entitled to use the proceeds to pay all ordinary and

      necessary expenses in the ordinary course of its business for the purposes contained in the

      budget (the “Base Houtex Budget”) attached as Exhibit B-1; provided that for the period

      following the conclusion of the Base HouTex Budget, Houtex is authorized to borrow such

      additional amounts from the Lender in the amounts, for the periods and for the purposes set

      forth in Exhibit B-2 (the “Supplemental Houtex Budget, and together with the Base Houtex

      Budget, the “Houtex Budget”).

             B. The Debtor 215 Shadywood, LLC (“Shadywood”) is authorized to incur debt in

      the principal sum not to exceed $65,000.00 (the actual amount borrowed together with

      interest, the “Shadywood Loan”) and shall be entitled to use the proceeds to pay all ordinary

      and necessary expenses in the ordinary course of its business for the purposes contained in

      the budget (the “Base Shadywood Budget”) attached as Exhibit C-1; provided that for the

      period following the conclusion of the Base Shadywood Budget, Shadywood is authorized to

      borrow such additional amounts from the Lender in the amounts, for the periods and for

      the purposes set forth in Exhibit C-2 (the “Supplemental Shadywood Budget, and together

      with the Base Shadywood Budget, the “Shadywood Budget”).

             C. The Debtor 2203 Looscan, LLC (“Looscan”) is authorized to incur debt in the

      principal sum not to exceed $61,000.00 (the actual amount borrowed together with interest,

      the “Looscan Loan”) and shall be entitled to use the proceeds to pay all ordinary and

      necessary expenses in the ordinary course of its business for the purposes contained in the

      budget (the “Base Looscan Budget”) attached as Exhibit D-1; provided that for the period

      following the conclusion of the Base Looscan Budget, Looscan is authorized to borrow such


25'(5$87+25,=,1*'(%725722%7$,1&5(',7                                                         
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        additional amounts from the Lender in the amounts, for the periods and for the purposes set

        forth in Exhibit D-2 (the “Supplemental Looscan Budget, and together with the Base

        Looscan Budget, the “Looscan Budget” and together with the Houtex Budget and

        Shadywood Budget, the “Budgets”) attached as Exhibit D.

        2.      Unused amounts under the Budgets roll forward and are available to the Debtors for

future periods under the Budgets.

        3.      The Lender is hereby granted administrative expense claims pursuant to § 503(b) and

507(b) of the Bankruptcy Code as follows:

                A. With respect amounts owed to the Lender under the Houtex Loan, the Lender

        will receive an administrative expense claims against Debtor Houtex Builders, LLC.

                B. With respect to amounts owed to the Lender under the Shadywood Loan, the

        Lender will receive an administrative expense claim against Debtor 215 Shadywood, LLC.

                C. With respect to amounts owed to the Lender under the Looscan Loan, the

        Lender will receive an administrative expense claim against Debtor 2203 Looscan, LLC.

provided that, the administrative expense claim will be subject to and subordinate to the

administrative expense claims for the items incurred and paid for pursuant to the Budgets.

        4.      The Lender is hereby granted a lien on property of the Debtors’ estates that is not

otherwise subject to a lien.

        5.      The Lender is granted a junior lien on property of the estate that is subject to a lien;

provided that the Debtors reserve their rights to challenge the validity of any pre-petition liens and

associated claims and/or avoid the liens by an avoidance action.

        6.      For paragraphs 4 and 5, the liens for the Houtex Loan are on the property of

Houtex, the liens for the Shadywood Loan are on the property of Shadywood, and the liens for the




25'(5$87+25,=,1*'(%725722%7$,1&5(',7                                                              
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Looscan Loan are on the property of Looscan; the liens are not cross-collateralized between the

Debtors.

       7.      This Court shall hold a hearing to consider the relief requested in the Motion on a

final basis on September 26, 2018 at 11:00 a.m. (CT) at the Unites States Bankruptcy Court for the

Southern District of Texas, Courtroom 401 before the Honorable Judge Norman (the “Final

Hearing”)

       8.      Within two business days of entry of this Interim Order the Debtors shall serve, by

United States mail, first-class postage prepaid, a copy of this Interim Order on the parties having

been given notice of the Interim Hearing, and to any other party that has filed a request for notices

with this Court.

       9.      The Debtors shall file on the docket in the above-referenced jointly administered

bankruptcy cases a proposed Final Order Authorizing Debtors to Obtain Credit and Use Proceeds by

September 20, 2018.

       10.     Any party in interest that wants to object to the relief requested in the Motion on a

final basis shall file written objections with the Clerk of the Court no later than on September 24,

2018 at 5:00 p.m. (Central Time), which objections shall be served so as to be received on or before

such date by: (a) Diamond McCarthy LLP, 909 Fannin, 37th Floor, Two Houston Center, Houston,

Texas 77010, Attention Charles Rubio, Esq. and Max Beatty, attorneys for the Debtors, and (b) the

Office of the U.S. Trustee, 515 Rusk Street, Suite 3516, Houston, Texas 77002, Attention: Hector

Duran, Esq.

       7.      11. The Debtors are authorized to take all actions necessary to effectuate the relief

granted by this order.

       8.      12. This Court shall retain jurisdiction with respect to all matters arising from or

related to the implementation of this order.

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      Case 18-34658 Document 51 Filed in TXSB on 09/20/18 Page 30 of 42




SIGNED this        day of        , 2018.

                                            UNITED STATES BANKRUPTCY JUDGE




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AGREED AS TO FORM AND SUBSTANCE ON AN INTERIM BASIS (all rights reserved on a
final basis):

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                            Exhibit A

                        Commitment Letter

                            [INSERT]
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                            Exhibit B

                          Houtex Budget

                            [INSERT]
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                                          Exhibit B-2

                                Supplemental Houtex Budget

On a weekly basis:

G&A Expenses: $1,300
Construction vendor/supplier payments: $0
Utilites and insurance: $430

On a monthly basis:

Debtor Legal Fees: $10,700

On a quarterly basis:

U.S. Trustee Fees: Amount required under 28 U.S.C. § 1930(a)(6)
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Case 18-34658 Document 51 Filed in TXSB on 09/20/18 Page 37 of 42




                            Exhibit C

                        Shadywood Budget

                            [INSERT]
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                                          Exhibit C-2

                              Supplemental Shadywood Budget

On a weekly basis:

G&A Expenses: $1,300
Construction vendor/supplier payments: $650
Utilites and insurance: $320

On a monthly basis:

Debtor Legal Fees: $10,700

On a quarterly basis:

U.S. Trustee Fees: Amount required under 28 U.S.C. § 1930(a)(6)
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                            Exhibit D

                         Looscan Budget

                            [INSERT]
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                                          Exhibit D-2

                                Supplemental Looscan Budget

On a weekly basis:

G&A Expenses: $1,300
Construction vendor/supplier payments: $650
Utilites and insurance: $10

On a monthly basis:

Debtor Legal Fees: $10,700

On a quarterly basis:

U.S. Trustee Fees: Amount required under 28 U.S.C. § 1930(a)(6)
   Case 18-34658 Document 51 Filed in TXSB on 09/20/18 Page 42 of 42




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